Case: 23-30298          Document: 105-1           Page: 1     Date Filed: 08/27/2024




          United States Court of Appeals
               for the Fifth Circuit                                   United States Court of Appeals
                                                                                Fifth Circuit

                                  ____________                                FILED
                                                                        August 27, 2024
                                   No. 23-30298                          Lyle W. Cayce
                                  ____________                                Clerk

MGMTL, L.L.C.,

                                                                   Plaintiff—Appellee,

                                         versus

Strategic Technology Institute, Incorporated,

                                           Defendant—Appellant.
                  ______________________________

                  Appeal from the United States District Court
                     for the Eastern District of Louisiana
                           USDC No. 2:20-CV-2138
                  ______________________________

Before Haynes, Willett, and Oldham, Circuit Judges.
Per Curiam:*
      MGMTL, LLC partnered with Strategic Technology Institute,
Incorporated (“STI”) to distribute a security management tool. After the
partnership broke down, MGMTL sued STI for breach of contract, copyright
infringement, and trade secrets misappropriation. A jury found for MGMTL
on some of those claims and awarded damages. After the district court



      _____________________
      *
          This opinion is not designated for publication. See 5th Cir. R. 47.5.
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entered final judgment, STI appealed. We affirm in part, reverse in part, and
vacate in part.
                                     I
                                     A
       After enlisting in the Marine Corps and serving on active duty, Jorge
Menes entered the Marine Forces Reserve (“MFR”). While serving in MFR,
he worked in security management. Menes thought the MFR had insufficient
security management tools. So Menes developed his own, including what
eventually became the Security Management and Reporting Tool
(“SMART”).
       Menes      developed   SMART      to    streamline   various   security
management processes, including form generation and clearance checking.
SMART was made up of many different screen displays with headings like
“Special Access Report Selection” or “Active Personnel.” The software was
written in Microsoft Access using Visual Basics for Application (“VBA”), a
programming language used in Microsoft Office.
       Menes and his uncle first developed SMART in 2011. In 2012, MFR
began to use SMART on a trial basis at its security management office in New
Orleans. In 2013, Menes’s company, MGMTL, filed for and obtained a
registered copyright to the SMART program. MGMTL attempted to license
SMART to MFR for $30,000 a year, but MFR said no.
       In 2015, Menes met with STI, a company with experience in
government contracts and for which he had previously worked. In the
summer of 2015, MGMTL and STI signed two contracts. The first contract,
the “Software Evaluation Agreement,” provided that STI could temporarily
access the SMART with the understanding that MGMTL retained all
intellectual property rights in the program. The second contract, the




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“Distributor Agreement,” granted STI limited rights to “advertise, promote,
and resell” the SMART program, with potential royalties accruing to
MGMTL. The Distributor Agreement confirmed that MGMTL retained all
of the intellectual property rights to the SMART program and provided that
STI could not “reverse engineer” or otherwise disassemble the program.
      The parties vehemently disagree over what happened next.
      In MGMTL’s telling, STI proceeded to breach these agreements and
infringe MGMTL’s intellectual property by copying SMART for use in
constructing a new program called Personnel Administrative Security System
(“PASS”). Once STI sufficiently developed PASS, it broke off relations with
Menes and MGMTL. STI proceeded to further revise PASS, represent PASS
as its own intellectual property, and make PASS available for sale to the
federal government.
      STI tells a very different story. According to STI, its developers
initially set out to create a web-based version of SMART, as approved by
Menes. But STI eventually decided that a collaboration with MGMTL would
make it hard to sell even an updated version of SMART to the federal
government. Thus, STI cut off its relationship with Menes and MGMTL.
Moreover, the PASS product was coded in different computer languages, had
100 times as much code as SMART did, and contained no lines of code that
were copied directly from SMART.
                                    B
      On July 28, 2020, MGMTL filed suit against STI in the Eastern
District of Louisiana. MGMTL asserted five claims: copyright infringement,
breach of the Software Evaluation Agreement, breach of the Distributor
Agreement, misappropriation of trade secrets under the Louisiana Uniform
Trade Secrets Act (“LUTSA”), and misappropriation of trade secrets under




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the federal Defend Trade Secrets Act (“DTSA”). MGMTL asked for
injunctive relief and damages.
       The district court denied STI’s motions to dismiss and for summary
judgment and the case went to a jury. After a seven-day trial, the jury found
for MGMTL on two of the five claims—copyright infringement and breach
of the Distributor Agreement—and awarded $180,000 in damages. But the
jury found against MGMTL on the remaining three claims—breach of the
Software Evaluation Agreement and the two trade secrets misappropriation
claims.
       STI moved for Rule 50(a) judgment as a matter of law, which the
district court denied. The district court then entered an order titled “FINAL
JUDGMENT,” which awarded judgment to MGMTL on the copyright
infringement, breach of the Distributor Agreement, and two trade secrets
claims, and awarded MGMTL $180,000 in damages plus pre- and post-
judgment interest. STI timely appealed.
                                       II
       The district court had original jurisdiction over MGMTL’s federal law
claims for copyright infringement and trade secrets misappropriation under
28 U.S.C. §§ 1331 and 1338(a). The district court had supplemental
jurisdiction over MGMTL’s state law claims for breach of contract and trade
secrets misappropriation under 28 U.S.C. § 1367.
       Under 28 U.S.C. § 1291, we have jurisdiction over appeals from final
decisions. A decision is final when it “ends the litigation on the merits and
leaves nothing for the court to do but execute the judgment.” Van
Cauwenberghe v. Biard, 486 U.S. 517, 521 (1988) (citation omitted); see also
Beebe v. Russell, 60 U.S. (19 How.) 283, 284 (1857) (a decree is final when it
“disposes of the whole merits of the cause”). As a corollary, where a decision
fails to dispose of all the asserted claims for relief, that decision is not final




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and appealable. See Talamini v. Allstate Ins. Co., 470 U.S. 1067 (1985); accord
Thompson v. Betts, 754 F.2d 1243, 1245 (5th Cir. 1985).
        Here, the district court entered an order on April 13, 2023, titled
“FINAL JUDGMENT.” But that order did not technically dispose of all five
of MGMTL’s claims. Specifically, it said nothing about the breach of the
Software Evaluation Agreement claim. So on its face, it might seem
unappealable under § 1291.†
        Our court has identified certain exceptions to the “must dispose of all
claims” rule regarding final decisions, however. See McLaughlin v. Miss. Power
Co., 376 F.3d 344, 350 (5th Cir. 2004) (per curiam). As relevant here, we have
held that “a decision that does not specifically refer to all pending claims will
be deemed final if it is clear that the district court intended, by the decision,
to dispose of all claims.” Id. at 351 (emphasis in original); see also Sch. Bd. of
Avoyelles Par. v. U.S. Dep’t of Interior, 647 F.3d 570, 577 (5th Cir. 2011). The
April 13th order referenced the jury’s verdict disposing of all five claims, the
title of the order was “FINAL JUDGMENT,” and the order indicated that
the only remaining issue in the case was MGMTL’s motion for attorneys’
fees. All of this suggests that the district court intended to dispose of all
pending claims and enter a final decision appealable to this court.
Accordingly, the order was an appealable final decision under § 1291.
                                           III
        We review de novo a district court’s decision on a Rule 50(a) motion
for judgment as a matter of law, viewing the evidence in the light most
favorable to the non-moving party. MGE UPS Sys., Inc. v. GE Consumer &amp;

        _____________________
        †
          The parties do not appear to have raised this jurisdictional issue, but we
nevertheless “have an independent obligation to assess our own jurisdiction” in every case.
MidCap Media Fin., L.L.C. v. Pathway Data, Inc., 929 F.3d 310, 313 (5th Cir. 2019).




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Indus., Inc., 622 F.3d 361, 365 (5th Cir. 2010). “A party is only entitled to
judgment as a matter of law on an issue where no reasonable jury would have
had a legally sufficient evidentiary basis to find otherwise.” Apache Deepwater,
LLC v. W&amp;T Offshore, Inc., 930 F.3d 647, 653 (5th Cir. 2019); see also Olibas
v. Barclay, 838 F.3d 442, 448 (5th Cir. 2016) (“[O]ur standard of review with
respect to a jury verdict is especially deferential.”) (quotation omitted).
       We first (A) explain the district court’s error with respect to the breach
of the Software Evaluation Agreement claim. We then (B) discuss the district
court’s error with respect to the two trade secrets misappropriation claims.
Finally, we (C) reject STI’s arguments regarding the copyright infringement
and breach of the Distributor Agreement claims.
                                       A
       First, the breach of the Software Evaluation Agreement claim. As the
jury verdict form clearly indicates, the jury found that STI did not breach the
Software Evaluation Agreement. But the April 13 order did not enter
judgment for STI on that claim; in fact, the district court did not enter any
judgment on the breach of the Software Evaluation Agreement claim. That
was erroneous—judgment should have been entered for STI.
                                       B
       Next, the two trade secrets misappropriation claims. MGMTL
brought two such claims, one under state law (LUTSA) and one under federal
law (DTSA). The jury found that STI had misappropriated SMART, but the
jury found no damages. Yet the district court entered judgment in favor of
MGMTL on both trade secrets claims.
       This was erroneous. Both LUTSA and DTSA enable litigants to
recover damages for misappropriation of trade secrets. See La. Stat. Ann.
§ 51:1433; 18 U.S.C. § 1836(b)(3)(B). Proof of damages is an element in both




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claims. See Comput. Mgmt. Assistance Co. v. Robert F. DeCastro, Inc., 220 F.3d
396, 403 (5th Cir. 2000) (“[T]o recover damages under [LUTSA], a
complainant must prove (a) the existence of a trade secret, (b) a
misappropriation of the trade secret by another, and (c) the actual loss caused
by the misappropriation.” (quotation omitted)); TransPerfect Glob., Inc. v.
Lionbridge Techs., Inc., No. 22-1348, 2024 WL 177726, at *3 (2d Cir. Jan. 17,
2024) (discussing DTSA and the “element of damages”). In this case, the
jury verdict forms indicated that proof of damages was a necessary element
of both trade secrets claims. As the showing of damages is an element of both
LUTSA and DTSA’s cause of action for damages, the jury’s finding that
MGMTL proved no damages means that MGMTL failed to prove its trade
secrets misappropriation claims. Therefore, judgment should have been
entered for STI.
                                        C
       Finally, the remaining claims for copyright infringement and breach of
the Distributor Agreement. On both claims, we reject STI’s attempts to
overturn the jury’s verdict.
                                        1
       First, copyright infringement. On appeal, STI levies three objections
to the jury’s verdict in favor of MGMTL: no actionable copying, fair use, and
statute of limitations. All three are meritless.
       With respect to actionable copying, the jury was instructed on the
“abstraction-filtration-comparison” test (“AFC test”), which separates
protectable elements from non-protected elements. See Gen. Universal Sys.,
Inc. v. Lee, 379 F.3d 131, 142–43 (5th Cir. 2004) (per curiam) (discussing the
AFC test). The jury then determined that the allegedly infringing work
(PASS) was substantially similar to protectable elements of the infringed
work (SMART). As the ultimate fact finder, see Lee, 379 F.3d at 142; Creations




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Unlimited, Inc. v. McCain, 112 F.3d 814, 816 (5th Cir. 1997) (per curiam);
Aspen Tech., Inc. v. M3 Tech., Inc., 569 F. App’x 259, 269 (5th Cir. 2014) (per
curiam), the jury is entitled to deference, particularly given STI’s copying of
SMART’s distinctive selection and arrangement of information. Cf. S.
Credentialing Support Servs., LLC v. Hammond Surgical Hosp., LLC, 946 F.3d
780, 784 (5th Cir. 2020); Eng’g Dynamics, Inc. v. Structural Software, Inc., 26
F.3d 1335, 1346 (5th Cir. 1994).
       With respect to fair use, three of the four statutory factors weigh
against STI’s fair use defense. Cf. 17 U.S.C. § 107; Google LLC v. Oracle Am.,
Inc., 593 U.S. 1, 18–19, 23–25 (2021). STI’s use was commercial and not
transformative, the jury found that STI engaged in substantial copying, and
the jury found that STI’s use of SMART affected the market for SMART.
Cf. Google, 593 U.S. at 26–40; Andy Warhol Found. for the Visual Arts, Inc. v.
Goldsmith, 598 U.S. 508, 527–28 (2023); Bell v. Eagle Mountain Saginaw
Indep. Sch. Dist., 27 F.4th 313, 321–23 (5th Cir. 2022). The only factor that
weighs in favor of STI’s fair use—the nature of the copyrighted work—is the
“least significant” factor. See Bell, 27 F.4th at 323. Accordingly, STI is not
entitled to judgment as a matter of law on its fair use defense.
       With respect to timeliness, the statute of limitations for copyright
infringement is three years, 17 U.S.C. § 507(b), and follows both the discovery
and separate-accrual rules. See Martinelli v. Hearst Newspapers, LLC, 65 F.4th
231, 233 (5th Cir. 2023); Petrella v. Metro-Goldwyn-Mayer, Inc., 572 U.S. 663,
671 (2014). The jury found that MGMTL filed its July 28, 2020, lawsuit
within three years after it knew or should have known about the last act of
copyright infringement. Because the question of when the statute of
limitations begins to run and the discovery rule are questions of fact, see
Taurel v. Cent. Gulf Lines, Inc., 947 F.2d 769, 772 (5th Cir. 1991); In re Beef
Indus. Antitrust Litig., MDL Docket No. 248, 600 F.2d 1148, 1170 (5th Cir.
1979), and given the evidence that STI created multiple infringing versions of



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PASS in 2019, we defer to the jury’s determination that MGMTL’s suit was
not time-barred.
                                        2
       Second, breach of the Distributor Agreement. Here, STI levies two
objections to the jury’s verdict in favor of MGMTL: fair use and insufficient
evidence of damages. We have already rejected STI’s fair use defense. With
respect to the sufficiency of evidence, the jury awarded MGMTL $30,000 in
breach of contract damages, which is the same amount that MGMTL had
planned to charge MFR for a one-year license of SMART. In light of the
deference that we owe to a jury’s award of damages, see Gulf Eng’g Co. v. Dow
Chem. Co., 961 F.3d 763, 768–69 (5th Cir. 2020), it was reasonable for the jury
to determine that STI essentially helped itself to a free license of SMART by
using and asserting ownership over MGMTL’s intellectual property in
SMART.
                               *        *         *
       In conclusion, we AFFIRM the district court’s final judgment in
favor of MGMTL on the copyright infringement and breach of the
Distributor Agreement claims; we REVERSE the judgment for MGMTL
on the two trade secrets misappropriation claims; and we VACATE the
judgment in part and REMAND for the district court to enter judgment in
favor of STI on the breach of the Software Evaluation Agreement claim.




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